Case 3:20-cr-00199-CAB Document 30 Filed 10/02/20 PagelD.86 Page 1of2

 

AO 245B (CASD Rev. 1/19).Judgment in a Criminal Case

 

 

a)

UNITED STATES DISTRICT COUR’
SOUTHERN DISTRICT OF CALIFORNIA
CLERK US BISTRICT COURT .

UNITED STATES OF AMERICA JUDGMENT IN A CRI AER ASRRICT OF CALIFORNIA
V. (For Offenses Committed On ce ese eee

LIDIA ANGELINA GERARDO-ANGUIANO (1) Case Number: 20CR0199-CAB

- JEREMY D. WARREN
Defendant’s Attorney

OCT 02 2020

 

 

 

 

 

‘USM Number 93392298
5 .

THE DEFENDANT:

XX] pleaded guilty to count(s) ONE (1) OF THE ONE-COUNT INFORMATION

L] was found guilty on count(s)

after a plea of not cuilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

 

; Count
Title & Section Nature of Offense Number(s)
21 USC 952, 960 IMPORTATION OF METHAMPHETAMINE 1
The defendant is sentenced as provided in pages 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on count(s)
O Count(s) is dismissed on the motion of the United States.

 

Assessment : $100.00 - WAIVED

JVTA Assessment*: $
*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22,

No fine CL] Forfeiture pursuant to order filed’ . , included herein.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

October 2, 2020)

Date of Imposition/of Sentence

 

 

HON. Cathy Ann Bencivengo
UNITED STATES DISTRICT JUDGE

 
“Case 3:20-cr-00199-CAB Document 30 Filed 10/02/20 PagelD.87 Page 2 of 2

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: LIDIA ANGELINA GERARDO-ANGUIANO (1) Judgment - Page 2 of 2
-CASE NUMBER: 20CR0199-CAB

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
TIME SERVED (287 DAYS).

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

Ct O

The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshal for this district:
C] at AM. on

 

 

C1 as notified by the United States Marshal.

O ‘The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons: .
O onor before
CL) as notified by the United States Marshal.

O asnotified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at os, witha certified copy of this judgment.
UNITED STATES MARSHAL
By ) DEPUTY UNITED STATES MARSHAL

Hi

20CR0199-CAB
